        Case 1:15-cv-00701-JWF Document 69-26 Filed 11/16/18 Page 1 of 30




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
-------------------------------------------------------------------X
DOUGLAS J. HORN and CINDY HORN,                                      Civil Action No. 15-cv-701
                                                                     (FPG)(MJR)
                                             Plaintiffs,

                          -against-

MEDICAL MARIJUANA, INC.;
DIXIE ELIXIRS AND EDIBLES;
RED DICE HOLDINGS, LLC; and
DIXIE BOTANICALS
                                             Defendants.
-------------------------------------------------------------------X


             PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO
           DEFENDANTS MMI/RDHs’ MOTION FOR SUMMARY JUDGMENT




                                   KUPILLAS, UNGER & BENJAMIN, LLP.

                                   Jeffrey Benjamin
                                   Attorney for Plaintiffs
                                   DOUGLAS J. HORN and CINDY HORN
                                   1 Linden Place, Suite 410
                                   Great Neck, NY 11021
                                   (516) 213-4493




                                                         i
        Case 1:15-cv-00701-JWF Document 69-26 Filed 11/16/18 Page 2 of 30




                                            TABLE OF CONTENTS

PRELIMINARY STATEMENT………………………………………....................…….1

STATEMENT OF FACTS……………………………..…………………………............2

EXPERT TESTIMONY…………………..…………..…….....……….............................5

PLAINTIFFS’ CAUSES OF ACTION..………………………………...........................10

STANDARD FOR SUMMARY JUDGMENT……………………................................10

ARGUMENT………………………………………………….........................................11

ISSUES OF FACT PRECLUDING SUMMARY JUDGMENT…….......……................11

A.       The Defendants’ Interrelationship and Clear Action of

MMI/RDH………………..................................................................................................11

B.       Cindy Horn suffered damages……………………….......……………................14

C.       Plaintiffs’ Record of Evidence Supports RICO, GBL and Fraud…………..........15

         I        Plaintiffs Have Proven Every Element Under Their RICO Claims...........16

                  i) Separate and Distinct RICO Enterprise…….……………………….....17

                  ii) Pattern of Racketeering Activity…………………………….........…..18

                  iii) At Least Two Acts of Racketeering…………………………….........18

                  iv) Continuity……………………………………………...................…..20

                  v) Harm and Causation…………………………..…………................….21

         II.      Plaintiffs Have Proven Every Element of Their Claims Under GBL 349 and 350
                  for Deceptive Practices and False Advertising...........................................22

                  a) Consumer-Oriented…………………………….............…..........…...22

                  b) Misleading Act or Practice…………………......…………….............23

                  c) Injury……………………...………………………….........................24

         III.     Fraud……………………………………………………..........................24


                                                            ii
     Case 1:15-cv-00701-JWF Document 69-26 Filed 11/16/18 Page 3 of 30




D.   UCC Section 2-318……………………………………........................……........24

E.   Negligence………………………………………..…………...............................25




                                     iii
           Case 1:15-cv-00701-JWF Document 69-26 Filed 11/16/18 Page 4 of 30




                                                    TABLE OF AUTHORITIES

Cases

Adirondack Transit Lines, Inc. v. United Transp. Union, Local 1582, 305 F.3d 82, 85 (2d Cir.

           2002)…………………………………………………………...........…..............10

Knight v. U.S. Fire Ins. Co., 804 F.2d 9, 11 (2d Cir.1986)……………………………...10

Mathirampuzha v. Potter, 548 F.3d 70, 74 (2d Cir. 2008)……………………………....10

Orlander v. Staples, Inc., 802 F. 3d 289 (2nd Cir. 2015)………………………………..10

DHL v. MMI, Superior Court, San Diego, CA, Case No. 37-2013-00058302]………....11

Riverwoods Chappaqua Corp. v. Marine Midland Bank, 30 F.3d 339, 343-44 (2d Cir.

           1994……………………………………………....................................................16

See Cedric Kushner Promotions Ltd. v. King, 533 U.S. 158, 161, 121 S. Ct. 2087, 150 L. Ed. 2d

           198 (2001)…….....................................................................................................17

Spira v. Nick, 876 F. Supp. 553,561(S.D.N.Y.1995)……………………..………....…..17

Gross v. Waywell, 628 F. Supp. 2d 475, 497 (S.D.N.Y. 2009).........................................17

Spool v. World Child Intern. Adoption Agency, 520 F.3d 178, 183 (2d Cir. 2008)..........18

United States v. Turkette, 452 U.S. 576, 593, 101 S. Ct. 2524, 69 L. Ed. 2d 246 (1981)

...........................................................................................................................................19

Agency Holding Corp. v. Malley-Duff & Associates, Inc., 483 U.S. 143, 107 S. Ct. 2759,

97 L. Ed. 2d 121 (1987))...................................................................................................19

Baisch v. Gallina, 346 F.3d 366, 373 (2d Cir. 2003)........................................................21

Lerner v. Fleet Bank, 318 F.3d 113 (2d Cir 2003)............................................................21

Holve v. McCormick & Co., 2018 U.S. Dist. LEXIS 137428 (W.D.N.Y. August 14,2018)

...........................................................................................................................................22



                                                                           iv
        Case 1:15-cv-00701-JWF Document 69-26 Filed 11/16/18 Page 5 of 30




Petrosino v. Stearn's Prods., No. 16-CV-7735 (NSR), 2018 U.S. Dist. LEXIS 55818, 2018 WL

1614349, at *6 (S.D.N.Y. Mar. 30, 2018) ) (alterations in original)

         (citing GBL §§ 349(a),..........................................................................................22

Spagnola v. Chubb Corp., 574 F.3d 64, 74 (2d Cir. 2009) ...............................................22

Maurizio v. Goldsmith, 230 F.3d 518, 521 (2d Cir. 2000)................................................22

Goldemberg v. Johnson & Johnson Consumer Cos., Inc., 8 F. Supp. 3d 467, 478 (S.D.N.Y.

        2014)......................................................................................................................22

Koch v. Greenberg, 14 F. Supp. 3d 247, 261 (S.D.N.Y. 2014).........................................22

Statutes & Rules

15 U.S.C §52 ………………………………………………………………………………passim

18 U.S.C. §1716………………………………………………………………………………9,16

18 U.S.C. §1961, et seq…... ……………………………………………………………… passim

21 U.S.C. §1308 ………………………………………………………………………….…passim

GBL 349 – 350 ……………………………………………………………………………..passim

Federal Rule of Civil Procedure 56 …………………………………………………………..3




                                                                      v
        Case 1:15-cv-00701-JWF Document 69-26 Filed 11/16/18 Page 6 of 30




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
-------------------------------------------------------------------X
DOUGLAS J. HORN and CINDY HORN,                                      Civil Action No. 15-cv-701
                                                                     (FPG)(MJR)
                                             Plaintiffs,

                          -against-                                   PLAINTIFFS’ MEMORANDUM
                                                                      OF LAW IN OPPOSITION TO
MEDICAL MARIJUANA, INC.;                                              MMI/RDH’s MOTION FOR
DIXIE ELIXIRS AND EDIBLES;                                            SUMMARY JUDGMENT
RED DICE HOLDINGS, LLC; and
DIXIE BOTANICALS
                                             Defendants.
------------------------------------------------------------------x

          Plaintiff, DOUGLAS J. HORN and CINDY HORN (collectively “Plaintiff”) by their

attorneys, KUPILLAS, UNGER & BENJAMIN, LLP. respectfully submit this memorandum of

law in opposition to the motion for summary judgment of defendants MEDICAL MARIJUANA,

INC. and RED DICE HOLDINGS, LLC. (collectively the “MMI/RDH Defendants”).

                                      PRELIMINARY STATEMENT

        This is an action for damages for inter alia, deceptive business practices and violations of

the New York General Business Law Art 22-A, §349 (“Deceptive Practices Act” or GBL §349”),

GBL §350 for false advertising, violations of the federal Racketeer Influenced and Corrupt

Organizations Act (“RICO”) 18 U.S.C. §1962(a)-(d), UCC § 2-318, strict products liability for

selling an unreasonably dangerous product, fraud and negligence.

        In summary, Defendants MMI/RDH inter alia promoted, provided capital for, consulted,

sold and distributed hemp-based products such as the Dixie X Elixir tincture liquid that they

provided to Plaintiff DOUGLAS HORN, which was shipped to his home in New York and

which he ingested. Immediately after ingesting the liquid product, he lost his job from a

mandatory random drug-test screening in his career as an over-the-road trucker. The laboratory

                                                    1    1
       Case 1:15-cv-00701-JWF Document 69-26 Filed 11/16/18 Page 7 of 30




test showed the presence of “THC” tetrahydrocannabinol, the psychoactive component of

marijuana. In October 2012, and before, the Defendants unequivocally and continually

represented on their websites, You Tube videos, press releases and advertising media that their

products contain “0%” THC, had “no THC” and were “THC free.” Defendants boasted that the

products were tested multiple times in different ways in order to insure that they were safe for

consumers. Throughout the various media, MMI/RDH promised that they did not grow, sell or

distribute and products which violate United States Laws and/or the “Controlled Substances

Act.” Defendants, in order to promote their own and respective commercial interests, partnered

together with co-Defendant DIXIE ELIXIRS for a common profitable purpose to market and

distribute the various hemp-based products. Plaintiffs’ case attacks their intentional, alternatively

negligent, conduct in putting out a product that clearly contained THC leading to Plaintiffs

approximate 5 year ban from their career and devastating economic damages.

                                   STATEMENT OF FACTS

       A more complete statement of the facts and supporting evidence related to the parties’

respective summary judgment motions are fully set forth in the Plaintiffs’ accompanying Rule

56(a)(2) filings which are herein incorporated by reference.

       The Plaintiffs have been a team of over-the-road truckers since 1998 (Plaintiff’s

Affidavit, ¶4). The Plaintiffs have driven across the Untied States hauling various loads such as

expedited food, pharmaceuticals, and liquid chemicals (Id.). In October 2012, the Plaintiffs

worked for Enterprise Transportation as drivers (Id. at ¶4).

       Previously, on February 24, 2012, the Plaintiff Douglas J. Horn was involved in a serious

work-related semi-truck accident in which he suffered, inter alia, severe shoulder and back

injuries (Id. at ¶5). Ensuring physical therapy and pain medication failed to alleviate his ongoing

                                              1   2
         Case 1:15-cv-00701-JWF Document 69-26 Filed 11/16/18 Page 8 of 30




and chronic pain (Id.). In September 2012, plaintiffs saw an advertisement for the DIXIE

ELIXIR product (Id. at ¶7). In response to the affirmative claims made regarding the pain

alleviating properties of DIXIE X, as well as the fact that it contained “0% THC . . . .” (Id. at ¶8),

plaintiff further researched the DIXIE ELIXER product—by watching YouTube videos of the

CEO of the Company (Tripp Keber) and reading the website FAQs (Id. at ¶9)—and ultimately

decided to purchase and use the product.

         In the videos, Keber states continuously that the products are “THC-free”; there is “no

THC”; and that it has “0% THC” (Id. at ¶11). He also claimed that it was a “wellness” product

(Id.).

         In the FAQs published in September 2012, the Defendants wrote:

         What is the difference between CBD from hemp and CBD from medical
         cannabis?

         While the two plants are botanically related, our hemp contains no THC and
         numerous medical studies have significant potential health benefits from a variety
         of ailments ranging from epilepsy to pain management. Medical cannabis
         contains THC and may provide relief from various ailments, however, with a
         psychotropic effect. [Emphasis Added].

         (Id. at ¶12).

         Significantly, the Defendants’ marketing FAQs deliberately changed over the years (Id.

at ¶14). Subsequent to the Plaintiffs’ unforeseen and detrimental discovery, the Defendants

began to warn consumers not to take their product if a user was subject to random drug-test

screening for employment or other reasons (Id.).

         The Plaintiffs specifically relied upon the advertising, magazine, FAQs, and YouTube

videos that the DIXIE ELIXER products contained no THC and were effective for pain

management. (Id. at ¶13). The Plaintiff was subject to regular testing (urine) over the 14 years


                                              1   3
       Case 1:15-cv-00701-JWF Document 69-26 Filed 11/16/18 Page 9 of 30




prior to 2012 as a trucker (Id. at ¶15). He was incident-free (Id.).

       The Plaintiffs specifically researched the product to investigate the contents so that the

Plaintiff would not jeopardize his employment (Id. at ¶16). The Plaintiff was specifically aware

that he could not ingest any “THC” or Tetrahydrocannabinol (the chemical in Marijuana) that

would produce a “dirty” result in any random drug screening)(Id.). The Plaintiff knew to stay

away from THC (Id.).

       As seen in the multiple media in which they advertised the product, the Defendants

consistently represented that the products had “0% THC” that were “THC free” (Id. at ¶17).

After these “across the board” statements by the Defendants in the magazine advertising,

YouTube videos and FAQs, the Plaintiff reasonably believed that he could take the product

without jeopardizing his employment (Id.).

       On September 17, 2012, the Plaintiff ordered the Defendants’ “Dixie X CBD Dew Drops

500mg Tincture” (Id. at ¶20). Within one week of receiving this product, he ingested it as

directed by placing a dropper full of the liquid in his mouth and swallowing it (Id.). On October

9, 2012, as he had regularly done over 14 years prior thereto, the Plaintiff submitted to a

required, random, urine drug test screening (Id. at ¶21). In a Report dated October 11, 2012, the

Plaintiff was confirmed for a positive test result for marijuana metabolite with a result of 29

ng/ml, almost double the cutoff concentration limit (Id.).

       As a result of this test result, the Plaintiff was forthwith terminated from his 14-year-long

career as a trucker and referred to required drug education courses through a Substance Abuse

Professional Evaluation program (“SAP”)(Id. at ¶22).

       Upon learning that the Defendants’ product caused him to have THC in his system, on

October 18, 2012, the Plaintiff ordered another batch of the tincture for the purpose of having it

                                              1   4
       Case 1:15-cv-00701-JWF Document 69-26 Filed 11/16/18 Page 10 of 30




tested at a lab (Id. at ¶23). Though the Plaintiff ordered the 500 mg tincture, the Defendant

mistakenly sent him the 100 mg tincture (Id.). Once the Plaintiff received the unopened product,

on or about October 29, 2012, he found the lab known as “EMSL Analytical, INC” for the

purpose of confirming that the Defendants’ product the Plaintiff took contained THC (Id. at ¶24).

The EMSL lab confirmed that the Defendants’ product contained THC contrary to their

advertising materials that he relied upon (Id. at ¶25). In connection with their findings, on

November 8, 2012, the Plaintiff received an email from the National Director at EMSL lab, Scott

Van Etten (Id. at ¶26), stating:

        Your report is attached. Since the sample contained THC, I may not be able to
        return it to you as per our DEA registration. I am checking on that. I’ll send you
        an email either way . . . .

(Id. at ¶26).

        Plaintiff would never have taken the defendants’ product if the Defendants’ advertising

was truthful and said even “trace amounts of THC” or “0.00001% THC” or anything hinting of

it. (Id. at ¶30). In relying on such advertising, the Plaintiff’s career and income were lost causing

financial ruin for an extended period (Id.).

                                     EXPERT TESTIMONY

        Multiple questions of fact are raised by the Plaintiff expert forensic scientist. Both the

Plaintiffs’ allegations and the documents in support as Exhibits herein are fully substantiated by

the independent findings of Dr. Kenneth Graham, a regarded Forensic Toxicologist and

Pharmacologist with over twenty-five years of related field experience. Dr. Graham evaluated

both the evidence and the testimony involving and related to the THC content of the product

taken by the Plaintiff and the implications of it on a urine drug screen (Id. at ¶2). He is also

opined as to whether the product complies with federal statutes for controlled substances (Id.).

                                               1   5
      Case 1:15-cv-00701-JWF Document 69-26 Filed 11/16/18 Page 11 of 30




          Following his investigation, Dr. Graham specifically concluded that the Defendants did

not provide the Plaintiffs, nor their own expert, with process batch or test records, or certificates

of analyses pertaining to the actual product purchased and used by the Plaintiff (Id. at ¶6(a)).

Failure to provide these documents, despite having been specifically requested, suggests that

either (i) they do not exist any longer or that (ii) the formulation and product analyses were not

conducted despite the Defendants’ advertising and statements that the products are rigorously

tested multiple times during the manufacturing process using both traditional ISO17025

chemical testing facilities, as well as cannabinoid testing facilities, to ensure their products meet

the highest standards (Id.).

          According to Dr. Graham, the presence of at least 170 ug/g (170/ppm) of

tetrahydocannabinol (THC) was measured by EMSL Analytical, Inc. (test date of November 6,

2012), in a Dixie X Elixir product containing a label quantity of 100 mg cannabidiol (CBD) and

that this quantity significantly exceeded by three-fold the 50 ppm THC concentration in hemp

products used in experimental studies that demonstrated the ability of such products to produce a

positive THC drug result (Id. at ¶6(b)).

          The results provided in Defendants’ Certificates of Analysis (COAs) prepared by

CannLabs, Inc. (test date of October 16, 2012), for a labeled 500 mg Dixie X Dew Drop product

contended to represent the similar product originally purchased and consumed by the Plaintiffs

indicates the product contained 500 ug/g (500 ppm) THC, which significantly exceeded by ten-

fold the 50 ppm THC concentration in hemp products used in experimental studies that

demonstrated the ability of such products to produce a positive THC drug screen result (Id. at

¶6(c)).

          Based upon the aforementioned independent laboratory analysis and the Certificate of

                                              1   6
      Case 1:15-cv-00701-JWF Document 69-26 Filed 11/16/18 Page 12 of 30




Analysis records provided by the Defendants, the product and similar Dixie products contained a

measurable amount of THC (Id.a t ¶6(e)) contrary to defendants’ representations at the time

these products were marketed to Plaintiffs. The product was incorrectly asserted to have “0%”

THC; public statements by the product’s managing director proclaimed that the product

“contains no THC.” (Id.). The claims were affirmatively contradicted by measurable presence of

THC in the products and represent false advertising under 15 U.S.C. 52 (Id.).

       As indicated by Dr. Graham, since the offending product was launched in early 2012, it

has been promoted as an imported industrial hemp-delivered wellness product and CBD-rich

medicine containing either 100 mg or 500 mg of CBD and “0%” THC—being reasonably

suggestive that it was free of THC, the psychoactive constituent contributing to the behavioral

effects and toxicity of cannabis (Id. at ¶6(g)). Industrial hemp strains are cultivated to increase

the concentration of CBD and lower the concentration of THC content (Id.). Unlike THC, CBD

is not psychoactive (Id.).

       In 2012, federal law specifically prohibited the commercial farming of any variety of

Cannabis Sativa, but permitted the importation and industrial use of hemp material subject to the

express proviso that it maintained a THC content of less than 0.3% by weight (Id.). As discussed

by Dr. Graham, the 0.3% limit does not apply to final product formulations in which the

presence of any amount of THC would render it a Schedule 1 controlled substance as described

under 21 U.S.C. 1308.11 (Id.).

       Though Defendants assert to the contrary, they have not be able to point to a relevant

statutory citation or other reference to support their contention that the Dixie Elixir products

offered to consumers complied with federal and state laws. (Id.). This is because no such

authority exists.

                                              1   7
      Case 1:15-cv-00701-JWF Document 69-26 Filed 11/16/18 Page 13 of 30




       Despite a definition in many states of “CBD-only” product as having less than 0.3% or

0.5% THC, as opined by Dr. Graham, any product containing THC in any amount is considered

marijuana and Schedule I controlled drug substance under 21 U.S.C. 1308.11 (Id.). Likewise,

since the offending product—and similar Dixie products—are derived from cannabis plant

material that contain THC, these products are not be eligible for an exemption to a Schedule I

classification under 21 U.S.C. 1308.35 since the products were formulated, marketed, and

distributed for human consumption (Id.). Marijuana is not a benign drug and remains a Schedule

I controlled substance under Federal law (Id. at ¶6(h)). Moreover, no such legislative movement

relates to driving or operating other dangerous instrumentalities after taking such substances but,

rather, relate solely to recreational use, the consideration of which is inapplicable to this action.

       Since 170 ug/g (170 ppm) THC was measured by EMSL Analytical, Inc., in a Dixie H

Elixir containing a labeled 100 mg CBD and 500 ug/g (500 ppm) THC was measured by

CannLabs, Inc. in a Dixie X Dew Drop containing a labeled 500 mg CBD, those products and

presumably similar Dixie products with differing lot numbers would be classified as Schedule I

controlled substances under federal law (Id.).

       Another material issue of fact addressed by Dr. Graham is the Dixie Elixir company

website content and public statements issued by its managing director that Dixie X Elixirs are

tested multiple times during the manufacturing process using both ISO17025 compliant testing

facilities as well as cannabinoid testing facilities (Id. at ¶6(j)). However, if the product was

tested for cannabinoid content during the manufacturing process as claimed by the defendants,

the results would have shown that their product did in fact contain a measurable quantity of

THC, which would then classify the product as a DEA Schedule 1 substance under 21 U.S.C.

1308.35 (Id.) as a matter of law. Manufacturing process test results clearly demonstrated the

                                               1   8
      Case 1:15-cv-00701-JWF Document 69-26 Filed 11/16/18 Page 14 of 30




presence of THC in the product formulation which clearly indicates that the advertising and

public statements to the contrary asserting that it contained no THC were plainly false and

subject to 15 U.S.C. 52 (Id.). Defendants’ alternative position, to wit, that the offending

formulation was not tested for cannabinoid content, runs contrary to the propriety of Defendants’

public assurances that their product contained no THC (Id.).

       Further, as neither the Defendants nor the Plaintiffs were registered with the U.S. D.E.A.,

the distribution of a Schedule I substance such as Dixie X Elixir across state lines would be

unlawful under 21 U.S.C. 801-971 (Id. at ¶6(k)). If the product was shipped through the

domestic mail system, the distribution would be further deemed unlawful under 18 U.S.C. 1716

(Id.). Finally, the Defendants’ respective manufacture and distribution of a controlled substance

is violative of 21 U.S.C. 841 (Id.).

       Finally, as Dr. Graham addresses, Schedule I controlled substances under 21 U.S.C.

1308.35 are subject to specific packaging and labeling requirements under 21 U.S.C. 1302.03

(Id. at ¶6(l)). Consequently, each commercial container of a controlled substance must contain a

label providing definitive information of contents and bearing the symbol designating the

schedule on which the product is listed (Id.). Defendants wholly failed to comply with these

statutory mandates. The offending product label did not list THC as an ingredient or bear a

symbol reflecting that it was a Schedule I controlled substance and, therefore, violated packaging

and labeling requirements under federal law (Id.). Without the required label content, the

Plaintiffs could not be deemed to possess the requisite information necessary to make an

informed decision about whether to use the Dixie X Elixir product (Id.).

       Based upon all of the foregoing, the claims that the offending product did not conflict

with any federal law are false (Id. at ¶6(m)).

                                                 1   9
      Case 1:15-cv-00701-JWF Document 69-26 Filed 11/16/18 Page 15 of 30




                             PLAINTIFFS’ CAUSES OF ACTION

       To the extent that the defendants seek Rule 12(b) dismissal on the pleadings, plaintiffs

object to those portions of their respective motions on the ground of untimeliness and failure to

raise many of the arguments in their original pleadings. The aforementioned Statement of Facts

are collectively set forth in the plaintiffs’ August 6, 2015 complaint, plaintiffs’ August 6, 2015

Civil Rico Statement—ignored by defendants—and the record in its entirety.

                         STANDARD FOR SUMMARY JUDGMENT

       Summary judgment may not be granted unless "the pleadings, the discovery and

disclosure materials on file, and any affidavits show that there is no genuine issue as to any

material fact and that the movant is entitled to judgment as a matter of law." Fed.R.Civ.P.

56(c)(2); see Adirondack Transit Lines, Inc. v. United Transp. Union, Local 1582, 305 F.3d 82,

85 (2d Cir. 2002). The role of the court in deciding a motion for summary judgment “is not to

resolve disputed issues of fact but to assess whether there are any factual issues to be tried, while

resolving ambiguities and drawing reasonable inferences against the moving party.” Knight v.

U.S. Fire Ins. Co., 804 F.2d 9, 11 (2d Cir.1986). Factual determinations are reviewed in a light

most favorable to non-moving party. Mathirampuzha v. Potter, 548 F.3d 70, 74 (2d Cir. 2008).

       Plaintiffs have factually demonstrated that they purchased the Defendants’ DIXIE X

product in direct reliance upon Defendants’ intended public advertising, marketing and public

relations information. Plaintiffs have additional alleged and factually demonstrated that the

aforementioned product did not conform with their multiple representations, to wit, “no or 0%

THC,” and this material false representation resulted in catastrophic economic and reputational

harm to the Plaintiffs. On this basis, as a matter of law, plaintiffs have stated a claim under New

York law. See, Orlander v. Staples, Inc., 802 F. 3d 289 (2nd Cir. 2015).

                                             1   10
       Case 1:15-cv-00701-JWF Document 69-26 Filed 11/16/18 Page 16 of 30




                                                ARGUMENT

                  ISSUES OF FACT PRECLUDING SUMMARY JUDGMENT

        The clear factual scenario set forth and demonstrated by the record in this action fully

supports denial of the Defendants’ respective motions for summary judgment. The record fully

supports the existence of numerous material issues of fact that militate against summary

judgment to the Defendants and require determination by the trier of fact.

        A.       The Defendants’ Interrelationship and Clear Action of MMI/RDH

        Throughout their Memorandum of Law, Defendants MMI/RDH have done their utmost

to veil and obfuscate their interrelationship from both a business and legal status perspective in

an effort to avoid liability in this case. They have not proceeded in good faith—and for clear

reason. The documents prepared by these Defendants and placed into the public domain set forth

the true nature of these parties’ interrelationship.

        Defendant RED DICE HOLDINGS, LLC (“RDH”) is a California limited liability

company. Pursuant to its Operating Agreement dated April 5, 2012 [Exhibit “A”], RDH is

wholly owned by co-defendants MEDICAL MARIJUANA INC. (“MMI”), an Oregon business

corporation [sixty (60%)] and DIXIE HOLDINGS LLC a/k/a DIXIE ELIXIR1 (“DHL”), a

Colorado limited liability company [forty (40%) percent].

        At the time that Plaintiffs’ claims arose, and by admission of all Defendants in this

action, Tripp Keber was and is CEO and one of the principals of the DIXIE Defendants, along

with a person known as Vincent M. Keber III. [Exhibit “B” – Complaint, DHL v. MMI, Superior

1
  DIXIE HOLDINGS LLC a/k/a DIXIE ELIXIR is incorrectly sued here as DIXIE ELIXIRS & EDIBLES. Though
it has acknowledged that it has been incorrectly captioned, this defendant has represented that its proper name is
Dixie Elixirs, LLC. However, the documents relating to these parties, which are submitted herewith, indicate that
the proper name for this party is DIXIE HOLDINGS LLC a/k/a DIXIE ELIXIR. A corresponding cross-motion for
leave to amend the complaint includes an application to amend the caption in this regard.

                                                   1    11
      Case 1:15-cv-00701-JWF Document 69-26 Filed 11/16/18 Page 17 of 30




Court, San Diego, CA, Case No. 37-2013-00058302].

       However, and contrary to the Defendants’ assertions in their motion papers, Mr. Keber

was also the President of Defendant RDH [Exhibit “C”, p.25 – MMI’s 06/30/2012 Information

and Disclosure Statement Pursuant to Rule 15c2-(11)(a)(5)]. As evidenced by the

aforementioned complaint, these three parties were completely integrated. In the complaint,

direct reference is made to these Defendants April 5, 2012 Operating Agreement which is

annexed to that pleading [Exhibit “A” hereto] which indicates the joint managerial role in DHL

(“Dixie”) as well as RDH.

       The Court may respectfully note that the same firm, Mura & Storm, has represented both

MMI and RDH throughout this litigation, presumably because they are united in interest and

there is no conflict. However, Tripp and Vincent Keber, occupy as both officers and principals of

Dixie, with Tripp Keber a concurrent officer of RDH. And yet, the MMI/RDH Defendants argue

herein that Tripp Keber does not speak for them. Such an argument appears disingenuous.

       The Operating Agreement acknowledges specifically that the business of RDH is

“providing legal and cannabis based products, manufacturing, research/development and related

business.” [Exhibit “A”, and its Exhibit C thereto (Non-Disclosure Agreements)]. Furthermore,

also annexed to the Operating Agreement as its Exhibit F is the Employment Agreement between

Mr. Vincent Keber and RDH dated April 5, 2012 in which he is specifically denominated as

RDH’s president (¶3) and Manager (¶3.1) at an annual salary of $170,000 (¶4(A)). His functions

are also delineated and include operations and marketing, among others. A similar Consulting

Agreement was executed with Mr. Keber’s partner, Charles K. Smith of even date (Mr. Smith

was also the Chief Operating Officer of RDH [Exhibit “C”, p. 25 of 33].

       MMI’s 06/30/2012 Information and Disclosure Statement Pursuant to Rule 15c2-

                                           1   12
       Case 1:15-cv-00701-JWF Document 69-26 Filed 11/16/18 Page 18 of 30




(11)(a)(5) [Exhibit “C”] further asserts and acknowledges that RDH “owns the Dixie Brand of

consumable products” (p. 12 of 33). The Disclosure Statement further describes MMI’s purpose

to expand its wholesale sales into new markets (id.). Furthermore, MMI specifically

acknowledges in its SEC Disclosure that RDH is its “subsidiary” and that RDH’s role is the

“manufacturing, distribution and licensing” of the Dixie brand of products, including the subject

product in this litigation [Exhibit C, p. 32 of 33]. When it comes to the Dixie products put out in

the stream of commerce, MMI, RDH and DIXIE are all inextricably intertwined.

        The MMI/RDH defendants’ motion papers are comprised of two primary thrusts. The

first is their disguised 12(b) arguments which have been addressed herein supra. The balance of

their arguments are belied by the record and documents found in the public domain as discussed

above. The allegations by the MMI/RDH defendants in support of their motion for summary

judgment that attempt to distance themselves from any involvement with DHL, marketing,

advertising, operations and manufacturing are flatly contradicted by the parties’ own documents

cited supra.

        The MMI/RDH defendants further attempt to disclaim liability on the basis that the

plaintiffs were somehow unique, and accordingly should not have any remedies stemming from

their material product misrepresentations as a result. However, there is no authority that supports

this contention in the context presented in this case. Likewise, their self-serving assertion that

they “did not believe” that their product did not violate the Controlled Substances Act, is an issue

of fact to be determined by the fact trier, not a dispositive factual assertion. It is absurd to

suggest that this Court should rule on what a party unilaterally believed. The fact is, Plaintiffs’

expert Dr. Kenneth Graham in his Reports and Affidavit pointed to multiple violations of federal

law.

                                              1   13
      Case 1:15-cv-00701-JWF Document 69-26 Filed 11/16/18 Page 19 of 30




       The balance of MMI/RDH’s arguments are purely their own opinion on the facts. With a

straight face, they argue that the magazine advertisement, the FAQs and the YouTube videos as

well as RDH’s customer service representative’s statements to Cindy Horn were not directed to

consumers and not misleading. Given the overwhelming record Plaintiffs offer the Court in the

Exhibits and Affidavits annexed hereto, both of those arguments are either absurd or they are

clear questions of fact.

       Finally, the contention that the harm to Plaintiffs’ was not “foreseeable” is completely

incongruous with the reality of what occurred. An illegal substance was put into the stream

commerce and affirmatively marketed in various media that it was 100% legal and THC free.

Clearly, many consumers of the Dixie Elixir products specifically sought its touted benefits

while simultaneously relying upon the Defendants’ representations that their products were legal

and untainted. There is nothing unforeseeable about that scenario. If these defendants failed to

consider this scenario, they will have to live with the consequences of such highly irresponsible

business activity.

       B.      Cindy Horn suffered damages

       Plaintiffs were a husband and wife team of truck drivers who were paid separately by the

same employer, but who worked together daily in the same truck across the country, and over 14

years. When one went down (Douglas), the other (Cindy) naturally followed. Defendants argue

that Cindy could have mitigated her damages by accepting a position to work alone in a far off

position, yet as a solo woman in the trucking industry.

       Annexed immediately hereto is the Affidavit of Ellen Voie, the CEO of the Women in

Trucking Association. Ms. Voie debunks this argument on its face and in full. The Court is

respectfully referred to that Affidavit to understand the adverse circumstances of a woman taking

                                            1   14
      Case 1:15-cv-00701-JWF Document 69-26 Filed 11/16/18 Page 20 of 30




a solo position in the trucking industry. The nature and circumstances of the proposed position

made it a non-viable option for Cindy Horn, as she testified.

       C.      Plaintiffs’ Record of Evidence Supports RICO, GBL and Fraud

       Plaintiffs fully incorporate by reference herein, Plaintiff’s Expert’s (Dr. Kenneth D.

Graham, Forensic Toxicologist and Pharmacologist) annexed Affidavit along with his two (2)

supporting Reports disclosed in discovery in this case. Because Dr. Graham is a “Forensic”

Toxicologist, he is uniquely qualified to show the Court the marriage between law and science in

this matter to prove Defendants’ strict liability under these statutes for the manufacturing,

distributing, selling and the sending of their Dixie Dew Drops Tincture product that may very

well have been legal to distribute and sell in Colorado in 2012, but was clearly illegal in New

York then.

       Briefly stated, in his review of the materials in this case, Dr. Graham identified multiple

per se violations of the federal Controlled Substances Act (“CSA”) with respect to Defendants’

conduct, testimony and the documents they produced. Dr. Graham has shown the Defendants

liable for the below predicate statutory offenses, the existence of which prove Plaintiffs’ cases

under §349 and GBL §350 for false advertising, and inter alia, mail and wire fraud under the

federal Racketeer Influenced and Corrupt Organizations Act (“RICO”) 18 U.S.C. §1962(a)-(d).

       More specifically, Dr. Graham showed that the Defendants’ final product formulations of

the Dixie X Dew Drops Tincture product with the presence of “any” amount of THC rendered it

a Schedule 1 controlled substance as described under 21 U.S.C. §1308.11, and not eligible for an

exemption to a Schedule I classification under 21 U.S.C. §1308.35 since it was formulated,

marketed and distributed for human consumption.



                                             1   15
        Case 1:15-cv-00701-JWF Document 69-26 Filed 11/16/18 Page 21 of 30




        Further, Dr. Graham showed that Defendants’ manufacturing process test results in its

Certificates of Analysis produced in discovery showing the presence of THC in the product

signifies that the advertising and public statements asserting the product contained “no THC”

were false and unlawful under 15 U.S.C §52.

        Dr. Graham stated that since the Defendants were not registered with the US Drug

Enforcement Administration, their distribution of a Schedule I substance, such as Dixie Dew

Drops Tincture product across state lines was unlawful under 21 U.S.C §801-971 and, if the

product was shipped through the domestic mail system, the distribution was also unlawful under

18 U.S.C. §1716. In addition, the defendants manufactured and distributed a controlled

substance in violation of 21 U.S.C. §841.

        As a Schedule I controlled drug substance under 21 U.S.C. §1308.11, Dixie X Elixir was

subject to specific packaging and labelling requirements under 21 U.S.C. §1302.03. Since the

product was a Schedule I controlled substance, the absence of language on its packaging and

labels therefore violated packaging and labeling requirements under 21 U.S.C. §1302.03.

        Finally the multiple representations that Defendants disseminated across multiple

media that the products “do not conflict with any state or Federal law” and that the parent

company, Medical Marijuana, Inc. “does not grow, sell or distribute any substances that

violate United States Law or the controlled substances act” are clearly false and violate

15 U.S.C §52 covering the dissemination of false advertisements.

   I.      Plaintiffs Have Proven Every Element Under Their RICO Claims.

        To establish a civil RICO claim, Plaintiff must establish (A) a separate and distinct RICO

enterprise that (B) engaged in a pattern of racketeering activity (C) causing harm to the Plaintiff.

18 U.S.C. § 1962(c); Riverwoods Chappaqua Corp. v. Marine Midland Bank, 30 F.3d 339, 343-

                                            1   16
      Case 1:15-cv-00701-JWF Document 69-26 Filed 11/16/18 Page 22 of 30




44 (2d Cir. 1994).


       i)      Separate and Distinct RICO Enterprise

       A civil RICO claim arises under 18 U.S.C. § 1962(c) when a RICO “person” participates

in the conduct of a RICO “enterprise” through a pattern of racketeering activity:


       “It shall be unlawful for any person employed by or associated with any
       enterprise engaged in, or the activities of which affect, interstate or foreign
       commerce, to conduct or participate, directly or indirectly, in the conduct of such
       enterprise's affairs through a pattern of racketeering activity or collection of
       unlawful debt.” 18 U.S.C. § 1962(c).

       The “person” and “enterprise” in a civil RICO action must be distinct. See Riverwoods,

30 F.3d at 344. In other words, a RICO claim requires at least two separate and distinct entities.

See Cedric Kushner Promotions Ltd. v. King, 533 U.S. 158, 161, 121 S. Ct. 2087, 150 L. Ed. 2d

198 (2001) (requiring “[t]he existence of two distinct entities: (1) a ‘person’; and (2) an

‘enterprise’ that is not simply the same ‘person’ referred to by a different name”).


       When analyzing a civil RICO claim, the Court “begin[s] from an understanding of what

enterprise is alleged.” Crabhouse of Douglaston Inc. v. Newsday Inc., 801 F. Supp. 2d 64, 74

(E.D.N.Y. 2011) (Hurley, J.) (quoting Spira v. Nick, 876 F. Supp. 553, 561 (S.D.N.Y. 1995)

(Kaplan, J.)). There are two types of RICO enterprises: “’legal entities’ such as corporations and

partnerships, and ‘any union or group of individuals associated in fact although not a legal

entity.’” Gross v. Waywell, 628 F. Supp. 2d 475, 497 (S.D.N.Y. 2009) (Marrero, J.) (quoting 18

U.S.C. §1961(4)).


       The latter enterprise, known as an “association-in-fact” enterprise, applies here, where the

RICO enterprise is comprised of the three “persons” i.e. the legal entity Defendants Medical


                                             1   17
      Case 1:15-cv-00701-JWF Document 69-26 Filed 11/16/18 Page 23 of 30




Marijuana, Inc, Dixie Elixirs, LLC. and Red Dice Holdings, LLC. Each of these legal entities

had a hand in the promotion and marketing, manufacturing and distributing, packaging and

labeling, and selling and sending out the Dixie Dew Drops Tincture product containing the

controlled substance THC to consumers in New York, which Plaintiff Douglas Horn took. There

is no better example of a RICO enterprise than the coordinated effort of these three Defendants

to market, distribute, sell and of course profit from, the Tincture product sold to Plaintiff here.


       ii)      Pattern of Racketeering Activity

       The second element for a civil RICO action is a pattern of racketeering activity. A pattern

of racketeering activity requires “at least two acts of racketeering activity, . . . the last of which

occurred within ten years . . . after the commission of a prior act of racketeering activity. 18

U.S.C. §1961(5). An act of racketeering “must be among the various criminal offenses list[ed] in

§1961(1), and they must be ‘related, and [either] amount to or pose a threat of continuing

criminal activity.’” Spool v. World Child Intern. Adoption Agency, 520 F.3d 178, 183 (2d Cir.

2008) (citation omitted). In short, a “pattern of racketeering activity” must consist of (1) multiple

racketeering activities (2) that threaten continuing criminal activity.


       iii) At Least Two Acts of Racketeering

       Plaintiffs’ Complaint (Defendant’s Exhibit “A”) alleges the following under 18 U.S.C.

§1961(1) and §1962:

       a) Selling and/or distributing a product through the U.S. mail that was known or should

             have been known to be a controlled substance or otherwise illegal or otherwise in

             violation of federal or state law;




                                                  1   18
      Case 1:15-cv-00701-JWF Document 69-26 Filed 11/16/18 Page 24 of 30




       b) Inducing the sale of an illegal product through promises of curing medical conditions

           of consumer purchasers of said product;

       c) Misrepresenting in advertising that the Dixie Products were safe and legal for

           consumers;

       d) Misrepresenting that the products complied New York State and the federal laws and

           regulations;

       e) Purposefully failing to disclose material facts regarding the product to induce the

           purchase of an illegal product;

       f) Concealing the true chemical content from consumers in its advertising and labelling

           in order to avoid inquiry into the legality of same.


       Through evidence and testimony elicited in this case, Plaintiffs have proven all of the

above, though they are only required to prove two (2). Notwithstanding this limited list in a)-f)

above, the evidence and testimony Plaintiffs have elicited in this case prove far more bad

conduct. (See the Affidavit and accompanying reports of Dr. Kenneth Graham annexed to this

Motion).


       Civil RICO deputizes civil litigants as “private attorney general[s]” to further the

“preventive and remedial” purposes of the statute. Id. at 481 (quoting United States v. Turkette,

452 U.S. 576, 593, 101 S. Ct. 2524, 69 L. Ed. 2d 246 (1981), and Agency Holding Corp. v.

Malley-Duff & Associates, Inc., 483 U.S. 143, 107 S. Ct. 2759, 97 L. Ed. 2d 121 (1987)). The

Court acts as a gatekeeper in civil RICO cases to ensure that the alleged offenses are “of a degree

sufficiently serious not only to inflict injury upon its immediate private victims, but also to cause

harm to significant public processes or institutions, or otherwise pose threats to larger societal

                                             1   19
      Case 1:15-cv-00701-JWF Document 69-26 Filed 11/16/18 Page 25 of 30




interests worthy of the severe punitive and deterrent purposes embodied in the statute. Id. The

alleged offenses here are serious. Plaintiffs have proven multiple violations of the Controlled

Substances Act, which evidences a significant risk of repetition across the entire U.S. consumer

landscape and exemplifies civil RICO’s “preventive” purpose:

       There is nothing more illustrative of Defendants’ liability then their own later-published
statement in an FAQ, admitting to the very liability Plaintiffs have proven here. Dixie’s answer
in the attached Exhibit “3”, in the April 8, 2015 FAQ stated the following:
       “Does Cannibidiol (CBD) and other natural hemp based constituents show up on a
drug test?” (bold in the original).

        “Most workplace drug screens and tests target delta9-tetrahydrocannabinol (THC)
and do not detect the presence of Cannabidiol (CBD) or other legal natural hemp based
constituents. However, studies have shown that eating hemp foods and oils can cause
confirmed positive results when screening urine and blood specimens. Accordingly, if
you are subject to any form of drug testing, we recommend (as does the United States
Military) that you DO-NOT ingest our products, and consult with your healthcare, drug
screening/testing company or employer.” Emphasis added.

       It cannot not be often that an admission such as the one above is found, or even an

acknowledgement of racketeering activity, albeit years after Defendants put a controlled

substance out in the stream of commerce. In publishing such a damning statement, Defendants

appear to have taken a dose of honesty after their false advertising of the product throughout

2012 and forward.


       iv) Continuity

       Plaintiffs have clearly proven continuity when it comes to Defendants’ enterprise.

Throughout all Exhibits offered to Court in support of this motion, it is clear that Defendants are

a mainstay in the promotion, marketing, manufacture, distribution, sale and shipment of their



                                            1   20
      Case 1:15-cv-00701-JWF Document 69-26 Filed 11/16/18 Page 26 of 30




controlled substance products (Dixie Dew Drops Tincture here) since their inception in 2012.

The fact that Defendants’ FAQs, having changed over the years to actually recommend not to

take their product if a consumer is subject to workplace drug testing, is dispositive proof of this

continuity recognized by the RICO statute and case law.


       v) Harm and Causation

       Plaintiffs have suffered now six (6) years of career-ending financial harm. Annexed

hereto as Exhibit “14” is a copy of Plaintiff’s expert Economist’s (Dr. Mark Zaporowski) report

finding damages in the amount of $836,544 as of one year ago.


       “To establish a RICO claim, a plaintiff must show: (1) a violation of the RICO statute, 18

U.S.C. §1962; (2) an injury to business or property; and (3) that the injury was caused by the

violation of Section 1962.” Spool, 520 F.3d at 183.


       As for Causation, the Second Circuit uses a two-part test for proximate cause in civil

RICO. Baisch v. Gallina, 346 F.3d 366, 373 (2d Cir. 2003). “First, the plaintiff's injury must

have been ‘proximately caused by a pattern of racketeering activity violating 18 U.S.C. §1962 or

by individual RICO predicate acts.’” (quoting Lerner v. Fleet Bank, 318 F.3d 113 (2d Cir 2003).

“Second, the plaintiff must have suffered a direct injury that was foreseeable.” Here, Plaintiffs

have clearly shown in their attached Affidavit that but for taking Defendants product, the

distribution of which was the racketeering activity and the RICO predicate acts, Plaintiff Douglas

Horn would not have been terminated from his employment. He took the product proximate in

time to the positive test for THC in the drug screening, and had no employment or criminal

history of marijuana use.


                                            1   21
         Case 1:15-cv-00701-JWF Document 69-26 Filed 11/16/18 Page 27 of 30




   II.      Plaintiffs Have Proven Every Element of Their Claims Under GBL 349 and 350
            for Deceptive Practices and False Advertising.

         Only two months ago, this very Court by the Hon. Frank P. Geraci, Jr. considered the

standard under GBL 349 and GBL 350 in a labeling case such as the one here, in part. In Holve

v. McCormick & Co., 2018 U.S. Dist. LEXIS 137428 (W.D.N.Y. August 14, 2018), this Court

stated Plaintiffs’ burden of proof at page 36:


         “New York’s GBL §§349 and 350 prohibit “[d]eceptive acts or practices in the
         conduct of any business, trade, or commerce or in the furnishing of any service in
         this state’ and materially misleading advertising, respectively.” Petrosino v.
         Stearn's Prods., No. 16-CV-7735 (NSR), 2018 U.S. Dist. LEXIS 55818, 2018
         WL 1614349, at *6 (S.D.N.Y. Mar. 30, 2018) ) (alterations in original) (citing
         GBL §§ 349(a), 350. A plaintiff must allege the following to state a prima facie
         claim under GBL § 349: “(1) the act or practice was consumer-oriented; (2) the
         act or practice was misleading in a material respect; and (3) the plaintiff was
         injured as a result.” Spagnola v. Chubb Corp., 574 F.3d 64, 74 (2d Cir. 2009)
         (citing Maurizio v. Goldsmith, 230 F.3d 518, 521 (2d Cir. 2000)). Whether an act
         or practice is deemed “misleading in a material respect” turns on whether it would
         be misleading or deceptive “to a reasonable consumer acting reasonably under the
         circumstances.” Goldemberg v. Johnson & Johnson Consumer Cos., Inc., 8 F.
         Supp. 3d 467, 478 (S.D.N.Y. 2014). The elements of a claim under § 350 are the
         same as those under § 349, except that a plaintiff must also demonstrate that the
         claim relates specifically to false advertising. See Koch v. Greenberg, 14 F. Supp.
         3d 247, 261 (S.D.N.Y. 2014) (“GBL §350 prohibits false advertising and has the
         same elements as § 349 . . . .”).

         i) Consumer-Oriented


         There is simply no question that the offering of the Dixie X Tincture product to the

general public through magazine advertisements, You Tube videos, FAQs, press releases and the

utter absence of warning labels as to THC or controlled substance content was consumer oriented

conduct by the Defendants. The basis of this case is that Plaintiff Douglas consumed this product

and immediately afterward tested positive for THC, and was then immediately terminated from

his employment. The Defendants’ concerted supplying of the product, for a price, was

                                             1   22
      Case 1:15-cv-00701-JWF Document 69-26 Filed 11/16/18 Page 28 of 30




quintessential consumer-oriented conduct.

       ii)     Misleading Act or Practice

       Plaintiffs’ set out to prove that list of deceptive practices and false advertising acts in

their Complaint (Defendants’ Exhibit “A”) under GBL §349 and §350:


       a.      misrepresenting in advertising that the Dixie Products were safe and legal for
               consumers;

       b.      misrepresenting in advertising that Defendants had adequately tested their
               products;

       c.      misrepresenting that the products complied New York State and the federal laws
               and regulations;

       d.      misrepresenting that their products contained no THC;

       e.      misrepresenting that the ingestion of its products would not cause a positive
               toxicology result;

       f.      misrepresenting that their products had beneficial health, wellness and medical
               uses.

       As in the RICO claims argued above, through evidence and testimony elicited in this

case, Plaintiffs have proven all of the above categories of deceptive practices and false

advertisements. Notwithstanding this limited list in a.-f. above, the evidence and testimony

Plaintiffs have elicited in this case prove far more bad conduct. (See the Affidavit and

accompanying reports of Dr. Kenneth Graham annexed to this Motion). Dr. Graham is not only a

Forensic Toxicologist, he is a Pharmacologist and is competent to and has testified to false

advertising and labeling as well, and Defendants’ violations of federal law.

       The multiple media advertisements and affirmative statements that the Tincture product

had “no THC”, was “THC free” and had “0% THC” was painfully misleading. This was

conclusively shown in Defendants’ own Certificates of Analysis produced in this case, as well as

                                             1   23
       Case 1:15-cv-00701-JWF Document 69-26 Filed 11/16/18 Page 29 of 30




the EMSL lab report Plaintiff obtained regarding the Defendants’ product he took, confirming an

amount of THC in Defendants unopened bottle of the Dew Drops Tincture it later sent to

Plaintiff.

        Plaintiff Douglas was a reasonable consumer acting reasonably. (See the Affidavit of

Plaintiffs). Mr. Horn researched the product on multiple media; he relied on the multiple express

representations that there was no THC in the product he bought and took; he was aware of

products with the innocuous “CBD” in them, as opposed to the illegal THC; and he was well

aware of the employment repercussions if he did ingest THC as a truck driver subject to DOT

random drug testing over his then 14-year career.

        iii)   Injury

        According to Plaintiffs’ expert economist, Plaintiffs suffered lost income damages from

termination to the date of the expert report August 23, 2017 in the present value of 836,544.

        III    Fraud

        For reasons identical to, and upon the same testimonial and evidentiary support

referenced above, Plaintiffs have proven or at least shown a question of fact as to their

Fraudulent Inducement claim. The above arguments need not be reiterated. In summary, Plaintiff

has shown that he justifiably relied on the multiple misrepresentations in multiple media by the

Defendants as to the lack of THC content in the product which lead to his damages. Defendants

cannot escape liability because they simply state “they believed” what they were sending to a

New York consumer did not violate federal law. It clearly did.

        D.     UCC Section 2-318

        Plaintiffs herein have also shown a question of fact, mainly through Defendants own

Certificates of Analysis and Plaintiffs’ EMSL lab report that the Defendants’ product

                                            1   24
       Case 1:15-cv-00701-JWF Document 69-26 Filed 11/16/18 Page 30 of 30




unequivocally contained THC. As such and by definition, there is a question of fact that it was

unreasonably dangerous and defective as Defendants offered to the nationwide consuming

public.

          E.     Negligence

          Plaintiffs have alternatively alleged the above conduct and evidence supporting

constituted negligent conduct. While the above analysis describes a consistent and intentional

course of conduct by Defendants to profit from the sale of their product, it at very least

establishes a course of negligent conduct which the Court should also respectfully pass through

to the trier of fact.


          WHEREFORE, Plaintiffs respectfully request that this Court deny the Defendants’

DIXIE’s motion for summary judgment and grant such other and further as the court may deem

just proper.


Dated: Great Neck, New York
       November 15, 2018                     KUPILLAS, UNGER & BENJAMIN, LLP.

                                             Jeffrey Benjamin
                                             Jeffrey Benjamin
                                             Attorney for Plaintiffs
                                             DOUGLAS J. HORN and CINDY HORN
                                             1 Linden Place, Suite 410
                                             Great Neck, NY 11021
                                             (516) 213-4493




                                            1   25
